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                          Exhibit A
                                                                                   10
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                                                21LBCV00619
                                      Assigned for all purposes to: Governor George Deukmejian Courthouse, Judicial Officer: Michael Vicencia
Electronically FILED by Superior Court of California, County of Los Angeles on 11/23/2021 10:35 AM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Ballesteros,Deputy Clerk



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                      4
                            Attorneys for Applicant: Todd Mason
                      5

                      6                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      7                                               FOR THE COUNTY OF LOS ANGELES
                      8
                              TODD MASON, an individual,                                                Case No.:
                      9
                                                                 Plaintiff,                             COMPLAINT FOR DAMAGES:
                    10
                                                     v.                                                      1. Wrongful Termination in Violation of
                    11                                                                                          Fair Employment and Housing Act
                              COLONIAL LIFE & ACCIDENT                                                          (FEHA)
                    12                                                                                       2. Wrongful Termination Based on
                              INSURANCE CO.,
                                                                                                                Breach of Contract
                    13                                                                                       3. Breach of Covenant of Good Faith and
                                                                Defendants.
                                                                                                                Fair Dealing
                    14                                                                                       4. Intentional Interference with
                                                                                                                Prospective Economic or Business
                    15                                                                                          Advantage
                                                                                                             5. Defamation
                    16                                                                                       6. Hostile Work Environment Based on
                                                                                                                Defendant's Failure to Prevent
                    17                                                                                          Discrimination in Violation of fair
                                                                                                                Employment and Housing Act (FEHA)
                    18                                                                                          Intentional Infliction of Emotional
                                                                                                                Distress
                    19

                    20

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                    22
                    23

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                    26

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                                                                                                      - 1-
                                                                 COMPLAINT
                                             TODD MASON V. COLONIAL LIFE & ACCIDENT INSURANCE CO.                                                                                       11
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              Plaintiff TODD MASON (hereinafter "Plaintiff') hereby brings this Complaint against

   2   Defendants COLONIAL LIFE & ACCIDENT INSURANCE, CO. ("COLONIAL"); and DOES I

   3   through 20, inclusive (hereinafter collectively referred to as "Defendants"), and alleges as follows:

   4             PARTIES, VENUE, JURISDICTION AND GENERAL ALLEGATIONS
   5       1. Plaintiff was employed by Defendant COLONIAL as Public Sector Territory Sales Manager
   6
              LA in Los Angeles County from February 18, 2013 to November 23, 2020. During that tim
   7
              Plaintiffresided in Los Angeles County.
   8
          2. Plaintiff is informed and believes and thereby alleges that Defendant, COLONIAL, is
   9

  10          corporation that has authorized an agent to accept service of process in actions brought i1

  11          California against COLONIAL. In addition, Defendant COLONIAL does business i

  12          California and these causes of action arise from such business.
  13
          3. The true names and capacities, whether a corporation, agent, individual, or otherwise o
  14
              Defendants DOES 1 through 20, are unknown to Plaintiff, who therefore sues said Defendant
  15
              by such fictitious names. Each Defendant designated herein as a DOE, is negligently              01
  16
              otherwise legally responsible in some manner for the events and happenings referred to herein
  17

  18          and therefore proximately caused harm and damages to Plaintiff as alleged herein. P laintiff

  19          will seek leave of Court to amend this Complaint to show their names and capacities when th

  20          same have been ascertained.
  21
          4. At all times mentioned herein, DOES 1 through 20, were the agents, representatives .
  22
              employees, successors and/or assigns of Defendants and at all times pertinent hereto wer
  23
              acting within the course and scope of their authority as such agents, representatives,
  24

  25          employees, successors, and/or assigns.

  26      5. Plaintiff is informed and believes and thereby alleges that at all times material hereto,

  27          Defendants and their agents, employees, alter egos, and/or joint ventures were acting within
  28
                                         - 2-
                                     COMPLAINT
                 TODD MASON V. COLONIAL LIFE & ACCIDENT INSURANCE CO.
                                                                                                                12
Case 2:22-cv-00088-FLA-PVC Document 1-1 Filed 01/05/22 Page 4 of 13 Page ID #:13


              the course and scope of such agency, employment, joint venture, or concerted activity.

   2     6. Plaintiff is informed and believes and thereby alleges that at all relevant times h rem

   3          mentioned, Defendants and DOES 1 through 20 are, and were corporations, business entities.

   4          individuals, and partnerships, licensed to do business and actually doing business in the Stat
   5
              of California. In those capacities Defendants employed Plaintiff in the State of California, and
   6
              based on all the facts and circumstances incident to Defendants' business in Caljfornia
   7
              Defendants are subject to the laws of California which give rise to the causes of action
   8
              contained herein.
   9

  10     7. Plaintiff filed a complaint with the Department ofFair Employment and Housing (DFEH) fo 1

  11          discrimination in violation of the Fair Employment and Housing Act on April6, 2021 and ha

  12          received his September 8, 2021 Right to Sue letter from the DFEH.
  13
                           FACTS COMMON TO ALL CAUSES OF ACTION
  14
         1.   Defendant hired Plaintiff as a Public Sector Territory Sales Manager-LA in Los Angele
  15
              Sal es-C LA in 2013.
  16
         2.   A letter dated February 12, 2013 was sent by Deborah Truluck, Human Resources Staffin
  17

  18          Consultant for Defendant, to Plaintiff which confirmed Plaintiffhad already accepted the offet

  19          of employment. That letter included an "Employment At-Will" paragraph, but also included

  20          language "For 2013 we will guarantee a minimum total incentive payment of$60,000.00. Thi
  21
              guarantee is based on meeting minimum performance standards, which includes mea ure
  22
              established in the annual review process. You will be paid for what you earn at the end of each
  23
              quarter. If your incentive compensation is less than $60,000.00 at the end ofthe   4th   quarter in
  24

  25          2013, the minimum guarantee of$60,000.00 will be trued up at that time."

  26     3. Plaintiff was initially recruited to come to work for Defendant by Carey Adamson, Defendant'

  27          national Vice President for Public Sector Sales at the time in November 2012, at which poin
  28
                                        -3-
                                    COMPLAINT
                TODD MASON V. COLONIAL LIFE & ACCIDENT INSURANCE CO.
                                                                                                                13
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            Plaintiff was working for a competitor in the industry and earning approximately $800,000.0

   2        a year. Mr. Adamson worked out of Defendant's corporate office in Columbia, S.C., bu1

   3        personally met with Plaintiff in Long Beach CAin November 2012 to discuss the position and

   4        job offer, including such things as compensation, both guaranteed and potential. Mr. Adamson
   5        initiated contact with Plaintiff for the specific purpose of recruiting him to a specific
   6
            employment position with Defendant, agreed to the specific terms of that employment, and
   7
            was Plaintiffs initial direct supervisor. In accepting the offer, Plaintiff took significant risk by
   8
            agreeing to a lower level of compensation in the short term, in exchange for the long term
   9

  10        potential opportunity of the position with Defendant, conditioned only on his ability to do

  11        perform the job he was being recruited to perform. In addition to the "guaranteed" 2013 bonu

  12        compensation of $60,000.00, he was promised a base salary of $150,000.00, which isn'1
  13
            referenced in the February 12, 2013 letter from Defendant to Plaintiff. Plaintiff had already
  14
            been offered the job by Mr. Adamson, and accepted it, based on an agreement of the terms o1
  15
            his employment reached with Mr. Adamson before Defendant sent Plaintiff the February 12,
  16
            2013 letter, which acknowledged "you have accepted our offer." Therefore, Plaintiff i
  17

  18        informed and believes, and thereby alleges that a verbal contract of employment wa

  19        established between Plaintiff and Defendant, which preceded any effort by Defendant t
  20        establish an Employment At-Will relationship, and that Defendant breached that contract b
  21
            terminating Plaintiff without legitimate good cause on November 23, 2020.
  22
         4. Plaintiff is informed and believes, and thereby alleges, that Defendants knowingly, recklessly
  23
            or intentionally, and with malice against Plaintiff, made false verbal and written statements o
  24

  25        fact about Plaintiff to third parties after Plaintiffs termination, and discouraged 3rd parties from

  26        continuing to have any business relationship with him. As a result, Plaintiffs prospectiv

  27        economic advantage and reputation have been negatively impacted, resulting in a loss o
  28
                                                      -4-
                                   COMPLAINT
               TODD MASON V. COLONIAL LIFE & ACCIDENT INSURANCE CO.
                                                                                                               14
Case 2:22-cv-00088-FLA-PVC Document 1-1 Filed 01/05/22 Page 6 of 13 Page ID #:15


            employment opportunities, past and future wages and benefits, and opportunities to mitigat

   2        his damages. False statements made by Defendants after Plaintiff's termination include, but

   3        are not limited to, claims he was removed from the premises in handcuffs at the time of the

   4        termination.
   5
         5. In response to Plaintiff's written request for employment records pursuant to Labor Code sects.
   6
            1198.5, 432, and 226 on November 27, 2020, Defendant responded to Plaintiff's initial request
   7
            on December 3, 2020 via e-mail from Tiffany Harley with "Personnel File documents'·
   8
            attached.
   9

  10     6. Those documents included ten separate Performance Reviews covering a reviewed period from

  11        2013 ("2013 Performance Review" signed on February 11, 2014), to September 30, 2020 ("1 :1

  12        Coaching Sessions 7/112020-9/30/2020 Evaluated by Michael Stachowiak"). There are no
  13
            indications of any concerns with Plaintiff's conduct, adherence to company policies and
  14
            procedures, warnings, demotions or other discipline evidenced in any of the availabl
  15
            performance review documents. In the final performance review made available to Plaintiff,
  16
            the concluding "Manager Evaluation" section indicates "Excellent FOCUS moving forward
  17

  18        on Agency Building in white space. Your systems and process are getting tighter and tighte

  19        because of your inspection and coaching. Don't stop. We all must achieve our recruiting target

  20        in Q4, nobody left behind. We all will cross the finish line on this goal together as a TM Team.
  21
            Thank you for your effort and focus on the core pillars of our business."
  22
         7. On November 18, 2020, Defendant informed Plaintiff that "an investigation was being done",
  23
            which concerned him in some unspecified way. On November 23, 2020, Defendant advised
  24

  25        Plaintiff that he was terminated based on the results of "the investigation", without furthe

  26        explanation at the time.     Plaintiff was not informed on November 18, 2020 why th

  27

  28
                                       - 5-
                                   COMPLAINT
               TODD MASON V. COLONIAL LIFE & ACCIDENT INSURANCE CO.
                                                                                                           15
Case 2:22-cv-00088-FLA-PVC Document 1-1 Filed 01/05/22 Page 7 of 13 Page ID #:16


            investigation was being conducted, or by whom, and was not provided an opportunity t
   1

   2        participate in the process to any extent.

   3     8. Plaintiffs initial written request for all ofhis Personnel records was made on November 27.

   4        2020, and Defendant responded initially via e-mail on December 3, 2020 indicating tb
   5        requested Personnel records were attached.      Believing the responsive documents attached t
   6
            Defendant's December 3, 2020 e-mail to be incomplete, Plaintiff sent follow up written
   7
            requests to Defendant on December 10, 2020, December 14, 2020, December 22, 2020, and
   8
            August 16, 2021. No additional Personnel Records documents were provided by Defendan
   9

  10        to Plaintiff until September 2, 2021, at which time they sent a letter which ac knowl dged

  11        Defendant's receipt and review of Plaintiffs August 16, 2021 letter, which included the fiTs

  12        written communication from Plaintiff to Defendant confirming Plaintiffs belief that hi
  13
            termination had been unlawful, while also being the fifth written request for all of Plaintiff
  14
            Personnel records.
  15
         9. Defendant's September 2, 2021 letter indicated the "requested records" were enclosed. Th
  16
            single difference between the Personnel Records provided by Defendant initially on Decembe1
  17

  18        3, 2020, and those provided by Defendant on September 2, 2021, was the later set included ,

  19        "Internal Memorandum" dated November 23, 2020 from Manger Michael Stachowiak t

  20        "Todd Mason, Personnel File". The Subject Line description is "Termination Meeting TaJkin ~
  21
            Points."   While the Memorandum is addressed to "Todd Mason, Personnel File", and
  22
            throughout references "You" referring to Plaintiff, Plaintiff was not in attendance at th
  23
            described meeting, nor did Plaintiff receive this November 23, 2020 Memorandum addressed
  24

  25        to his Personnel File until September 2, 2021, or shortly after Plaintiffs initial August 16, 2021

  26        written notice to Defendant of a potential action for wrongful termination.

  27

  28
                                       - 6-
                                   COMPLAINT
               TODD MASON V. COLONIAL LIFE & ACCIDENT INSURANCE CO.
                                                                                                             16
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         10. The November 23, 2020 Internal Memorandum includes a long list of purported grounds fm

   2          Plaintiff's termination on that date.   Plaintiff disputes the accuracy and credibility of th

   3          grounds for his termination alleged in that Internal Memorandum. Plaintiff is informed and

   4          believes, and thereby alleges that the actual motivation for his termination was based on hi,
   5          Race and Color status as a Black man, and thereby violated the CA Fair Employment and
   6
              Housing Act (FEHA).
   7
                                          FIRST CAUSE OF ACTION
   8
       WRONGFUL TERMINATION IN VIOLATION OF FAIR EMPLOYMENT AND HOUSING
   9

  10                                               ACT (FEHA)

  11                         (Against Defendant Colonial Life and Accident Ins. Co.)

  12     1. Plaintiff hereby incorporates by reference the allegations in the paragraphs above as thoug
  13
              fully set forth herein.
  14
         2.   An employer's broad legal authority to discharge an at-will employee pursuant to Labor Cod
  15
              sect. 2922, is limited by considerations of public policy that cannot be waived or bargaine
  16
              away by agreement. The California Supreme Court has recognized, and confirmed, the public
  17

  18          policy exception to employment at-will status, and the right to bring a tortious discharge claim

  19          based on a public policy which is a. supported by either constitutional or statutory provisions;

  20          b. is public; c. was articulated at the time of the discharge; and d. is fundamental an
  21
              substantial.
  22
         3.   The California Fair Employment and Housing Act (FEHA) (Govt. C sect. 12900-12996
  23
              applies to any employer regularly employing at least five persons in California. Defendant i
  24

  25          therefore covered by this statute.

  26     4. FEHA prohibits employment discrimination by covered employers based on race or color

  27          among other protected categories.
  28
                                         - 7-
                                     COMPLAINT
                 TODD MASON V. COLONIAL LIFE & ACCIDENT INSURANCE CO.
                                                                                                              17
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         5. As a Black man, Plaintiff belonged to a protected Race and Color group under FEHA, and wa
   1

   2        terminated based on that status, in direct violation of FEHA, as well as the public policy i

   3        establishes.

   4     6. As a direct and proximate cause of Defendants' wrongful conduct, Plaintiff has sustained, and
   5
            will continue to sustain special damages in the amount of past and future lost wages and
   6
            benefits, general damages in the amount to compensate him for his emotional distress, pain
   7
            and suffering caused by defendant's wrongful conduct.
   8
                                          SECOND CAUSE OF ACTION
   9

  10                  WRONGFUL TERMINATION BASED ON BREACH OF CONTRACT

  11                          (Against Defendant Colonial Life and Accident Ins. Co.)

  12     7. Plaintiff hereby incorporates by reference the allegations in the paragraphs above as thoug
  13
            fully set forth herein.
  14
         8. Contractual limitations on an employer's termination rights need not be express. They may b
  15
            implied in fact, arising from conduct of the parties that manifests there actual mutual intent to
  16
            create such enforceable limitations. General Dynamics Corp. v. Superior Court 7 Cal.41h 116
  17

  18        (1994).

  19     9. Plaintiff had an implied employment contract, which established a legal exception t

  20        Employment At-Will, which was violated by Defendant when they terminated him withou
  21
            Good Cause.
  22
         9. As a direct and proximate cause of Defendants' wrongful conduct, Plaintiff has sustained, and
  23
            will continue to sustain special damages in the amount of past and future lost wages an
  24

  25        benefits.

  26                                    THIRD CAUSE OF ACTION

  27             BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
  28
                                                     - 8-
                                   COMPLAINT
               TODD MASON V. COLONIAL LIFE & ACCIDENT INSURANCE CO.
                                                                                                            18
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                              (Against Defendant Colonial Life and Accident Ins. Co.)

    2        10. Plaintiff hereby incorporates by reference the allegations in the paragraphs above as though

    3           fully set forth herein.

    4        11. The California Supreme Court has confi1med there is a covenant of good Faith and fair
    5
                dealing in employment contracts. Foley v. Interactive Data Corp. 47 C3d 654 (1988).
    6
             12. When an implied contract to terminate only for good cause exists, breach of the covenant
    7
                would be established when "the existence of good cause for termination is asserted by the
    8
                employer, without probable cause and in bad faith, that is, without a good faith belief that
    9

   10           good cause for termination in fact exists." Pugh v. See's Candies, Inc. 203 CA3d 743, 770

   11           (1988).

   12        13. Plaintiff had a verbal contract of employment with Defendant at the time the position was
   13
                offered to him by Carey Adamson, and he accepted. The existing verbal contract of
   14
                employment was further confirmed and/or implied by the actions of Defendant through the
   15
                duration of Plaintiff's employment, up to, and including the last Performance Review
   16
                covering the period from July 1, 2020- September 30, 2020, prior to his termination on
   17

   18           November 23, 2020.

   19        14. Based on the contractual terms, Plaintiff's employment was not legitimately At-Will, and

  20            Defendant's termination of the employment relationship without actual good cause, or good
  21
                faith belief that it existed at the time based on probable cause breached the implied in law
  22
                covenant of good faith and fair dealing.
  23
             15. As a direct and proximate cause ofDefendants' wrongful behavior, Plaintiff has sustained,
  24

  25            and will continue to sustain, special damages in the amount of past, and continued, lost

  26            wages and benefits.

  27    II
  28
                                                           -9-
                                       COMPLAINT
                   TODD MASON V. COLONIAL LIFE & ACCIDENT INSURANCE CO.
                                                                                                               19
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        II

    2   II

    3   II

    4                                      FOURTH CAUSE OF ACTION
    5                INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
    6
                                               (Against All Defendants)
    7
             16. Plaintiff hereby incorporates by reference the allegations in the paragraphs above as thougl
    8
                fully set forth herein.
    9

   10        17. Plaintiffhad an existing relationship with one, or more   3rd   parties and there was a probability

   11           of future economic benefit to Plaintiff with that relationship.

   12        18. Defendants were aware of this, and intentionally disrupted that relationship, causing economic
   13
                harm to Plaintiff.
   14
             19. As a direct and proximate cause of Defendant's wrongful conduct, Plaintiff has sustained, and
   15
                will continue to sustain, special damages in the amount of lost past, and future, wages, in com
   16
                and benefits as well as special damages to compensate for the resulting emotional distress.
   17

   18           pain, and suffering.

   19        20. As a direct and proximate result of Defendant's wrongful conduct, Plaintiffs ability to mitigat
  20            his damages was negatively impacted.
  21
                                             FIFTH CAUSE OF ACTION
  22
                                                    DEFAMATION
  23
                                               (Against All Defendants)
  24

  25         21. Plaintiff hereby incorporates by reference the allegations in the paragraphs above as though

  26            fully set forth herein.

  27

  28
                                           - 10-
                                       COMPLAINT
                   TODD MASON V. COLONIAL LIFE & ACCIDENT INSURANCE CO.
                                                                                                                   20
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          23. Plaintiff is informed and believes, and thereby alleges that Defendants have made false ,

   2         unprivileged statements of fact about Plaintiff that were published to   3rd   pm1ies, that caused

   3         damage to Plaintiff.

   4      24. As a direct and proximate cause of Defendant's wrongful conduct, Plaintiff has sustained, and
   5
             will continue to sustain, special damages in the amount of lost past, and future, wages, in com .
   6
             and benefits as well as special damages to compensate for the resulting emotional disti·es ,
   7
             pain, and suffering.
   8
          25. As a direct and proximate result of Defendant's wrongful conduct, Plaintiffs ability to mitigat
   9

  10         his damages was negatively impacted.

  11                                       SIXTH CAUSE OF ACTION

  12            HOSTILE WORK ENVIORNMENT BASED ON FAILURE TO PREVENT
  13
                                  DISCRIMINATION IN VIOLATION OF FEHA
  14
                               (Against Defendant Colonial Life and Accident Ins. Co.)
  15
          26. Plaintiff hereby incorporates by reference the allegations in the paragraphs above as thoug
  16
             fully set forth herein.
  17

  18      27. Plaintiff is informed and believes, and thereby alleges, he was exposed to systemic

  19         discrimination by Defendant against him, as well as other Black employees ofDefendant. Thi

  20         included, but was not limited to, racially inappropriate comments directed at Plaintiff and/o
  21
             in his presence, unequal treatment and access to promotion opportunities that were mad
  22
             available to White peers with less seniority and inferior sales territory managemen
  23
             performance results, and unequal access to participate in industry events as a speaker, which
  24

  25         were provided to White peers with less seniority and inferior performance results, as compare

  26         to Plaintiffs'.

  27

  28
                                        - 11 -
                                    COMPLAINT
                TODD MASON V. COLONIAL LIFE & ACCIDENT INSURANCE CO.
                                                                                                                21
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             28. Defendant failed to take all reasonable steps necessary to prevent discrimination, as required

   2            by FEHA Govt. C sect. 12940(k).
   ,..,
   .J        29. As a direct and proximate cause of Defendant's wrongful conduct, Plaintiff has sustained, and

   4            will continue to sustain, special damages in the amount of past, and future, lost wages and
   5            benefits and general damages in the amount which will compensate him for the emotional
   6
                distress, pain, and suffering caused by Defendant's wrongful conduct.
   7
                                                PRAYER FOR RELIEF
   8
          Wherefore, Plaintiff seeks judgement as follows :
   9

  10         1. For special damages, according to proof;

  11         2. For general damages and compensatory damages, including lost past and future wages and

  12            benefits, according to proof;
  13
             3. For punitive and exemplary damages;
  14
             4. For costs of suit incurred;
  15
             5. For an award of attorneys' fees pursuant to applicable provisions of California statutory or
  16
                common law, including FEHA;
  17

  18         6. For interest at the legal rate from the date of injury or pursuant to Code of Civil Procedure sect.

  19            3287;and

  20         7. For any other and further relief as the Court deems just and proper.
  21
                                     DEMAND FOR JURY TRIAL
  22
                Plaintiff hereby demands trial by jury to the extent authorized by law.
  23
          Dated: November 19, 2021

                                                                By:~
  24

  25
                                                                    BLACK AND ROSE, LLP
  26                                                                David B. Nusz, Esq.
                                                                    Attorneys for Plaintiff
  27                                                                TODD MASON
  28
                                            - 12-
                                        COMPLAINT
                    TODD MASON V. COLONIAL LIFE & ACCIDENT INSURANCE CO.
                                                                                                                  22
